Case 2:04-Cr-20387-BBD Document 73 Filed 08/04/05 Page 1 of 2 Page|D 82

assn ev _.9@_ n.c.
IN THE UNITED sTATEs DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG -h PH 3= l l
gaming DIvlsloN

THOM M. GOULD
cLFa<. us want count
W,@ {`=F 5`:`." 3¢'}:;!\59?"!13
UNITED STATES OF AMERICA,
Plaintiff,
vs. Case No.O4CR20387 D
ORTHAL STONE
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and, the Clerk is directed to issue a check on the Registry in the sum of $__50_0__,

payable to Dawn Stone at P.O. Box 604 Clarksdale, MS 38614

 

(Narne) (Address)

in full refund of the cash appearance bond posted herein.

jJ'nited States bistridt Judge Donald/

 

Tho M lerk of Court
BY: -’4-/{

\_“_‘______
ut rk

' _. m \ianee
cument entered on the docket sheet in not/g

This do ,O`S
with Ru!e 55 and.'or 32('0) FRCrP on 7

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-203 87 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

